

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NO. WR-80,681-01






IN RE DAN ODELL FORTNER, Relator







ON APPLICATION FOR A WRIT OF MANDAMUS


CAUSE NO. 12-01-00277-CR IN THE 410th DISTRICT COURT
	

FROM MONTGOMERY COUNTY






	Per curiam.


O R D E R



	Relator has filed a motion for leave to file an application for a writ of mandamus pursuant
to the original jurisdiction of this Court.  In it, he contends that he filed an application for a writ of
habeas corpus in the 410th District Court of Montgomery County, that more than 35 days have
elapsed, and that the application has not yet been forwarded to this Court.  Relator contends that the
district court entered an order designating issues on June 11, 2013.

	Respondent, the Judge of the 410th District Court of Montgomery County, shall file a
response with this Court by having the District Clerk submit the record on such habeas corpus
application.  In the alternative, Respondent may resolve the issues set out in the order designating
issues and then have the District Clerk submit the record on such application.  In either case,
Respondent's answer shall be submitted within 30 days of the date of this order.  This application
for leave to file a writ of mandamus will be held in abeyance until Respondent has submitted his
response.


Filed: January 29, 2014

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